                               IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE MIDDLE DISTRICT OF TENNESSEE


 IN RE:                         )
                                )
 RONNIE E. DOWLING, Jr.,        )                                CASE NO. 17-00357-MH3-7
                                )
                                )
                 Debtor         )
                                )
 ROBERT H. WALDSCHMIDT, TRUSTEE )
                                )                                ADVERSARY PROCEEDING
                 Plaintiff      )                                NO.
                                )
      v.                        )
                                )
 EXETER FINANCE CORP.           )
                                )
                 Defendant(s)   )


               COMPLAINT TO SELL PROPERTY FREE AND CLEAR OF LIENS


          Comes now the trustee, Robert H. Waldschmidt, in the above-captioned cause, and files

this action against the defendant to sell property free and clear of liens, and would further state:

          1.         The defendant was listed as a secured creditor on the debtor's schedules, with an

interest in a 2011 Nissan Sentra.

          2.         If the defendant has a security interest in the Property, the defendant has failed to

provide the Trustee with proof of perfection of that lien, as required under Local Rule 3001-1.

          3.         If the defendant does not have a perfected lien in the Property, the rights of the

Trustee as a judicial lien creditor under 11 U.S.C. §544(a)] are superior to that of the defendant.

          4.         The Property has value that could be realized for the benefit of the bankruptcy

                     estate,

if the trustee can sell the Property free and clear of liens, under 11 U.S.C. §363(f).

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        WHEREFORE, THE TRUSTEE PRAYS for the entry of an order setting aside the lien

of the defendant, authorizing the sale of the property of the estate free and clear of liens, and for

such other and further general relief as is just.

        Dated: June 27, 2017
                                                      RESPECTFULLY SUBMITTED,

                                                      /s/ Robert H. Waldschmidt
                                                      ROBERT H. WALDSCHMIDT (#4657)
                                                      Attorney for Trustee
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cc:

EXETER FINANCE CORP.
PO BOX 166008
IRVING TX 75016

CORPORATION SVC COMPANY
2908 POSTON AVE
NASHVILLE TN 37203-1312




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